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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION


UNITED STATES OF AMERICA,

               Plaintiff,                                   Case No. 1:12-CR-257

v.                                                          HON. ROBERT HOLMES BELL

BRIAN VERBURG,

            Defendant.
____________________________________/


                            MEMORANDUM OPINION AND ORDER

       Defendant Brian Verburg has filed a motion for modification or reduction of sentence (ECF

No. 761) pursuant to 18 U.S.C. §3582(c)(2) on the basis of Amendment 782 of the United States

Sentencing Guidelines, made retroactive by the Sentencing Commission.

       Section 3582(c)(2) permits a court to reduce the term of imprisonment of a defendant who

has been sentenced based on a sentencing range that has subsequently been lowered by the

Sentencing Commission. 18 U.S.C. § 3582(c)(2). Amendment 782 of the United States Sentencing

Guidelines reduced by two levels the offense levels assigned to the quantities that trigger the

statutory mandatory minimum penalties in U.S.S.G. §§ 2D1.1 and 2D1.11. These modifications

were made retroactive effective November 1, 2014. U.S.S.G. § 1B1.10.

       The Probation Department filed a sentence modification report on 10/20/2015 (ECF No.

856). In its report, the probation department recommended the defendant is eligible for reduction

in sentence based on defendant currently being an inmate, USSG § 2D1.1 was used in the guideline

calculations, and the guideline range applicable to the defendant subsequently has been lowered as
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a result of the retroactive amendment to the Sentencing Guidelines (782). A reduction of sentence

is consistent with the policy statements of the U.S. Sentencing Commission. The government filed

a response to the sentence modification report, concurring with its recommendation. The Defendant

filed a response (ECF No. 860) and the government filed a response (ECF No. 859) to the sentence

modification report, both concurring with its recommendation for a sentence reduction.

       NOW THEREFORE, IT IS HEREBY ORDERED that Defendant's motion for modification

of sentence (ECF No. 761) pursuant to 18 U.S.C. § 3582(c)(2) is GRANTED. Defendant Brian

Verburg's sentence shall be reduced to 70 months imprisonment. An order effectuating the sentence

reduction shall issue forthwith.




Dated: November 10, 2015                        /s/ Robert Holmes Bell
                                                ROBERT HOLMES BELL
                                                UNITED STATES DISTRICT JUDGE
